Case 1:24-cv-20020-RKA Document 24 Entered on FLSD Docket 02/01/2024 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 24-cv-20020-ALTMAN/Becerra

  METZFAB INDUSTRIES, LLC AND
  BRANDON METZGER,
           Plaintiff,

  v.

  THE INDIVIDUALS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE A,

        Defendants.
  _______________________________________/

                                       PROOF OF SERVICE

  I, Alisha Moriceau, declare and state as follows:

           1. I certify and declare that I am over the age of 18 years old, and I am an attorney for

               Plaintiffs, METZFAB INDUSTRIES, LLC and BRANDON METZGER, in the above

               captioned action.

           2. On January 26 and January 29, 2023, Boies Schiller Flexner LLP emailed Defendants

               copies of the Complaint, Issued Summons, Order granting Plaintiffs’ Motion for Ex

               Parte Temporary Restraining Order, Order extending TRO, and Order Granting

               Motion for Alternative Service to Defendants identified on Schedule A, 1 consistent

               with this Court’s Sealed Order Authorizing Alternate Service of Process on Defendants

               Pursuant to Federal Rule of Civil Procedure 4(f)(3) dated January 4, 2024 (Dkt. 10).

               Boies Schiller Flexner LLP also effected service of process on Defendants via

               publication by posting a true and accurate copy of the Complaint, Issued Summons,


  1
      DOE No. 8 Black Sheep Creations was dismissed on January 26, 2024 (Dkts. 22-23).
Case 1:24-cv-20020-RKA Document 24 Entered on FLSD Docket 02/01/2024 Page 2 of 2




             and other filings in this case, on the website http://metzfab-cases.com/case-23-cv-

             23867.html.

         I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct.

         Executed on February 1, 2024, in Fort Lauderdale, Florida.


                                              /s/ Alisha Moriceau
                                              Alisha Moriceau (FL Bar No. 1011395)
                                              BOIES SCHILLER FLEXNER LLP
                                              401 E. Las Olas Blvd., Suite 1200
                                              Fort Lauderdale, FL 33301
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                                              Counsel for Plaintiffs Metzfab Industries, LLC and
                                              Brandon Metzger




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